   Case 3:17-cv-01375-DMS-MDD Document 692 Filed 03/15/19 PageID.38679 Page 1 of 2
                      MINUTES OF THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA

                                            VS
     QUALCOMM Incorporated                                    APPLE Incorporated
Case Number:    17CV1375-DMS-MDD         WITNESS LIST                  Jury Trial

     DATE             PLF          DEF                      WITNESS NAME
March 4, 2019          X                   JAMES THOMPSON
                       X                   CLAUDIA DE ANDRADE
March 5, 2019          X                   CLAUDIA DE ANDRADE
                       X                   STEVE HAEHNICHEN
                       X                   DR. MARTIN RINARD
March 6, 2019          X                   DR. MARTIN RINARD
                       X                   SAURABH GARG (Video Deposition)
                       X                   ULRICH LEUCHT ROTH (Video Deposition)
                       X                   MURALI KRISHNA
                       X                   KARAN SANGHI (Video Deposition)
                       X                   DR. RUSSELL JACOB BAKER
March 7, 2019          X                   DR. RUSSELL JACOB BAKER
                       X                   TERENCE POTTER (Video Deposition)
                       X                   JEAN-LUC DUPRAT (Video Deposition)
                       X                   DR. MURALI ANNAVARAM
                       X                   ANAND SHIMPI (Video Deposition)
                       X                   JAMES IMAHIRO (Video Deposition)
                       X                   PHILLIP SCHILLER (Video Deposition)
                       X                   JAYNA WHITT (Video Deposition)
                       X                   KAIANN DRANCE (Video Deposition)
                       X                   DR. JEFFREY PRINCE
March 8, 2019          X                   DR. JEFFREY PRINCE
                       X                   DR. PATRICK KENNEDY
                                   X       FRANK CASANOVA
                                   X       SAM POST

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                       MINUTES OF THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA

                                           VS
     QUALCOMM Incorporated                                      APPLE Incorporated
Case Number:     17CV1375-DMS-MDD       WITNESS LIST                     Jury Trial

                                    X     OKTAY GUMUS (Video Deposition)
                                    X     DANIEL KIM (Video Deposition)
March 11, 2019                      X     ARJUNA SIVASITHAMBARESAN
                                    X     IGOR MALAMANT (Video Deposition)
                                    X     BILL LIN
March 12, 2019                      X     BILL LIN
                                    X     JEAN-LUC DUPRAT
                                    X     HENRY FUCHS
                                    X     ULRICH LEUCHT-ROTH
                                    X     BILL LIN (recalled)
March 13, 2019                      X     BILL LIN
                                    X     JOSHUA DE CESARE (Video Deposition)




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